       Case 2:22-cv-00634-DMC Document 23 Filed 06/14/24 Page 1 of 2


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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    RAGHVENDRA SINGH,                                 No. 2:22-CV-0634-DMC-P
12                       Plaintiff,
13           v.                                         ORDER
14    COUNTY OF SACRAMENTO, et al.,
15                       Defendants.
16

17                  Plaintiff, a prisoner proceeding pro se, brings this civil rights action pursuant to 42

18   U.S.C. § 1983. Pending before the Court is Plaintiff’s motion for an extension of time to file a

19   second amended complaint. See ECF No. 22. Alternatively, Plaintiff asks that his first amended

20   complaint be “reinstated.” See id.

21                  On May 20, 2024, the Court dismissed Plaintiff’s first amended complaint because

22   it failed to state any cognizable claims. See ECF No. 21. Plaintiff was directed to file a second

23   amended complaint within 30 days of the date of the Court’s order. See id. In the present

24   motion, Plaintiff asks that his first amended complaint be “reinstated.” If that is not possible,

25   Plaintiff asks for an extension of time to file a second amended complaint.

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       Case 2:22-cv-00634-DMC Document 23 Filed 06/14/24 Page 2 of 2


 1                    The Court is unwilling to “reinstate” his first amended complaint because, as

 2   explained in the May 20, 2024, order, the first amended complaint does not state any cognizable

 3   claims which can proceed. The Court will, however, for good cause shown based on Plaintiff’s

 4   declaration indicating the need for additional time due to disability, grant Plaintiff’s request for an

 5   extension of time.

 6                    Accordingly, IT IS HEREBY ORDERED as follows:

 7                    1.     Plaintiff’s request to “reinstate” the first amended complaint is DENIED.

 8                    2.     Plaintiff’s request for an extension of time to file a second amended

 9   complaint is GRANTED.

10                    3.     Plaintiff shall file a second amended complaint within 30 days of the date

11   of this order.

12                    4.     The Clerk of the Court is directed to terminate ECF No. 22 as a pending

13   motion.

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15   Dated: June 13, 2024
                                                            ____________________________________
16                                                          DENNIS M. COTA
17                                                          UNITED STATES MAGISTRATE JUDGE

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